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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

IN RE:                            §
                                  §                                       CASE NO. 23-90614
GENESIS CARE PTY LIMITED, et al., §                                       Chapter 11 (MI)
                                  §
    DEBTORS.                      §                                       (Jointly Administered)




     OBJECTION OF MELISSA ZOUMBEROS, MD TO AND NOTICE OF OPT-OUT OF
               ALL THIRD-PARTY RELEASES AND EXCULPATIONS
                     [RELATED TO DKT. NOS. 828 and 1024]

           Melissa Zoumberos, MD, through her undersigned counsel, respectfully files this

Objection to and Notice of Opt-Out of all Third-Party Releases1 and Exculpations contained in

Article VIII.D of the Debtors’ First Amended Joint Plan of Reorganization Pursuant to Chapter

11 of the Bankruptcy Code (Technical Modifications) (the “Plan”) [Dkt. No. 1024]. Melissa

Zoumberos, MD, objects to and opts out of all Third-Party Releases and Exculpations contained

within the Plan or any order confirming the Plan and does not consent to the release of any Non-

Debtor Party.

           Melissa Zoumberos, MD, respectfully requests that this Court enter an order sustaining her

Objection and allowing her to opt out of all Third-Party Releases and Exculpations, and granting

such other and further relief as is just and proper.




1
    Capitalized terms not defined herein shall have the meaning ascribed to them in the Plan.
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Dated: November 15, 2023                      Respectfully submitted,

                                              SPENCER FANE LLP

                                              /s/ Megan F. Clontz
                                              Megan F. Clontz
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                                              Counsel for Melissa Zoumberos, MD


                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 15, 2023, a true and correct copy of the foregoing
Objection was served on the Debtor, Debtors’ Counsel, Counsel for the Unsecured Creditors
Committee, the Office of the US Trustee, and all other parties receiving notice of filings by the
Court’s ECF Notification System.

                                              /s/ Megan F. Clontz
                                              Megan F. Clontz
